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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

DONNICE ROBERTS, Individually, and             §
as NEXT FRIEND OF JOHNNY and                   §
JANIE DOE, minors,                             §
                                               §
                Plaintiffs,                    §
                                               §
v.                                             §    Civil Action No. 6:12-cv-00839-MHS
                                               §
NATIONAL GEOGRAPHIC SOCIETY,                   §
A District of Columbia Corporation;            §
FOX CABLE NETWORKS, INC., a                    §
Delaware Corporation; and FOX                  §
ENTERTAINMENT GROUP, INC., a                   §
Delaware Corporation,                          §
                                               §
               Defendants.                     §

     .
                              AGREED ORDER OF DISMISSAL

         Having considered the parties’ Joint Motion to Dismiss with Prejudice (Doc. No. 16)

and having found good cause therefor, the Court hereby GRANTS the motion. It is therefore

ORDERED that all claims in this case are dismissed with prejudice. Each party shall bear its

own costs, expenses, and attorneys’ fees.

         It is SO ORDERED.

         SIGNED this 4th day of March, 2013.




                                                       ____________________________________
                                                       MICHAEL H. SCHNEIDER
                                                       UNITED STATES DISTRICT JUDGE
